        Case 3:13-cr-02889-DMS                   Document 92        Filed 09/27/13            PageID.225              Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case



                                         UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                        I '"!.J e;::-p "7
                                                                                                            Vc.. 1     L       2:0i
              UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                    V.                              (For Offenses Committed On or AtterNovember 1,:J9M)~:;, ;,
            ANGEL AGUIRRE-ANTIVEROS (4)
                                                                       Case Number:         13CR28.89-DMS

                                                                    Marc B Geller CJA
                                                                    Defendant's Attorney
REGISTRA nON NO.                    39664298
D
181   pleaded guilty to count( s)         4 of the Superseding Infonnation

D     was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                             Count
Title & Section                          Nature of Offense                                                                  Number(sl
8 USC 1326                               REMOVED ALIEN FOUND IN THE UNITED STATES                                              4S




    The defendant is sentenced as provided in pages 2 through                 2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

      The defendant has been found not guilty on count(s)

IZI   Count(s)    In underlying Indictment                     is         dismissed on the motion of the United States.

      Assessment: $100.00 ordered waived
IZI


181 No fine                     D Forfeiture pursuant to order filed                                                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    September 27.2013
                                                                    Dm. OfImposn>::~

                                                                    HON. DANA M. SABRAW
                                                                    UNITED STATES DISTRICT JUDGE




                                                                                                                            13CR2889-DMS
       Case 3:13-cr-02889-DMS            Document 92         Filed 09/27/13      PageID.226        Page 2 of 2
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:               ANGEL AGUIRRE-ANTNEROS (4)                                              Judgment - Page 2 of 2
CASE NUMBER:             13CR2889-DMS

                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
TIME SERVED.




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
o     The court makes the following recommendations to the Bureau of Prisons:




o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      o    at                         A.M.                   on
           ------------------
      o as notified by the United States Marshal.
                                                                  ------------------------------------

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      o    on or before
      D     as notified by the United States Marshal.
            as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on
                               ------------------------- to -------------------------------
at                                       , with a certified copy of this judgment.
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                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      13CR2889-DMS
